     9:22-cr-00658-RMG           Date Filed 01/03/23        Entry Number 255       Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   BEAUFORT DIVISION


  UNITED STATES OF AMERICA                              )     CRIMINAL NO.: 9:22-cr-00658-RMG
                                                        )
          vs.                                           )
                                                        )
  RUSSELL LUCIUS LAFFITTE                               )         NOTICE OF REQUEST FOR
                                                                 PROTECTION FROM COURT
                                                                       APPEARANCE


       Kathleen Stoughton, Assistant United States Attorney, appearing as co-counsel for the

Government, respectfully requests the Court grant her protection from court appearances between

January 25 and January 27, 2023.         The request for this protection is based upon counsel’s

appearance for oral argument in Richmond, Virginia, at the Fourth Circuit Court of Appeals during

those dates.    There are no court dates currently set in this matter during the specified dates.


                                                   Respectfully submitted,

                                                   ADAIR F. BOROUGHS
                                                   UNITED STATES ATTORNEY

                                                   BY: S/ Kathleen M. Stoughton
                                                       Kathleen M. Stoughton
                                                       Assistant United States Attorney
                                                       1441 Main Street, Suite 500
                                                       Columbia, SC 29201
                                                       Tel. (803) 929-3000
                                                       Kathleen.Stoughton@usdoj.gov

January 3, 2023
